Case 1:20-cr-00068-LEK Document 104 Filed 09/26/22 Page 1 of 3         PageID.1262




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                 IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF HAWAI`I

IN RE: CIVIL BEAT LAW                        MISC. NO. 22-431 LEK
CENTER FOR THE PUBLIC                        [CR NO. 20-00068-LEK]
INTEREST,
                                             REPLY MEMORANDUM
             Movant.                         REGARDING MOTION TO
                                             UNSEAL [DKT. 100]
                                             DEFENDANT’S SENTENCING
                                             STATEMENT AND EXHIBITS
                                             [DKT. 97]

               REPLY MEMORANDUM REGARDING
            MOTION TO UNSEAL [DKT. 100] DEFENDANT’S
          SENTENCING STATEMENT AND EXHIBITS [DKT. 97]

      On August 31, 2022, the Civil Beat Law Center for the Public Interest (Law

Center) moved to unseal Dkt. 97.1 On September 22, Defendant Davis filed a

partial opposition. Dkt. 102. In part, Defendant’s opposition characterized the

motion to unseal as limited in scope to three categories of information. Dkt. 102 at



1
 Unless otherwise stated, “Dkt.” refers to the docket of United States v. Davis,
20-CR-68-LEK.
Case 1:20-cr-00068-LEK Document 104 Filed 09/26/22 Page 2 of 3           PageID.1263




PageID.1255. The Law Center moved to unseal Dkt. 97 without limitation. Dkt.

100 at PageID.1250 (“moves this Court to unseal Defendant’s sentencing statement

and exhibits [Dkt. 97]”).

      Defendant raises concerns about disclosure of certain general categories of

information. Dkt. 102 at PageID.1254. In general, the Law Center does not object

to redacting Defendant’s health, financial, business, and familial information if that

information is not relevant to Defendant’s efforts to mitigate her sentence.2 Where

information is relevant to mitigation, however, potential “embarrassment” from

disclosure of personal information is not sufficient to seal records. Kamakana v.

City & County of Honolulu, 447 F.3d 1172, 1179 (9th Cir. 2006) (“The mere fact

that the production of records may lead to a litigant’s embarrassment,

incrimination, or exposure to further litigation will not, without more, compel the

court to seal its records.”); accord In re McClatchy Newspapers, Inc., 288 F.3d

369, 374 (9th Cir. 2001) (sealing sentencing-related documents to protect

reputation “is more likely to engender resentment, suspicion, and contempt than it

would enhance respect”). Because the Law Center does not know more about the

content of what Defendant filed as Dkt. 97, it is unclear whether Defendant’s and

the Law Center’s positions entirely align.



2
 The Law Center does not object to redacting the name of Defendant’s minor
child. See Fed. R. Crim. P. 49.1(a).
                                          2
Case 1:20-cr-00068-LEK Document 104 Filed 09/26/22 Page 3 of 3      PageID.1264




                                CONCLUSION

      Based on the foregoing, the Law Center respectfully moves this Court to

unseal Defendant’s sentencing statement and exhibits [Dkt. 97].

      DATED: Honolulu, Hawai`i, September 26, 2022

                               /s/ Robert Brian Black
                               ROBERT BRIAN BLACK
                               Attorney for Civil Beat Law Center
                                  for the Public Interest




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